RE Ce: (97-S-00141-ERW Doc. #: 652 Filed: 07/28/05 Page: 1 of 4 PagelD #: 75
BY MAIL 4.4 Toe i4t ee
JUL 28 2005
v2. OISTRIGT COURT 7 / AS J. Os
To: BE codward ,
Cher k of Pisteiet Court

Tm writing this motion (Pre Se) asking to,
the aurts assistance jn helping me obtain another Copy of my
discovery. L sent & motion to the Clerk of the Appeals Court
(Michael Gans) asking tor the Courts assistance in helping me
Obtain Another Copy ot my discovery, and in that response EL was
told that my records were Sent back to the U5. District Court
ter the Lastern District of Missovri and that LL should
Contact you. |

, bShat Im Trying 7a obtain Copies at are. my police |
reports, FEL. JOA? @nd kab reports tn my CASA. The reason tT
Need another lopy is because atter DL was Sentence and being
held at “Fontiac State Prison in LIlhlinois, my Tecords were cither
lost, Taleen out ot order, or destroyed While in their custody.

LS hile being held at “Pontiag State ~Prison my attorneys
Michael Gross. and John Simen had arrange dt a visit te Come
and See me,and ve alse drop off a capy of my discovery. I was
Policy at the. prison that my records could be dropped off by
my attorneys , but they would irst be searched and /ater
brought vo me in my Cell.

After the visit with my attorney and atter T wes
brought back fo my cell, & guard later Showed up with the
Lox that had my records in them,and a paper tor me te Sign
Saying that FD had received the bey ot my feeords. Belore ZL
Signed the paper ZT asked (F ZL could check the bex to malee
Sure nothing Was missing or that nothing was out of place. twas
told by the gvard that before FT was. Given the box LT wotted
heed to Sign the paper and abter that I could check to
Case: 4:97-cr-00141-ERW Doc. #: 652 Filed: 07/28/05 Page: 2 of 4 PagelD #: 76

make Sure very thing was in order. LT went ahead and ‘Signed
the Paper and then TD was given the box with my Fecords in
them.

As Soon as I opened the boy L saw that my records had
been Tossed araund in the box. LT haduat brought it to the avards.
Attention because he had walked oft but IT did call him
back and he JSeoked insjsde thee box and teld me that
he... Wasnt the Persan ushe Searched jt then walked otf. Instead
of arguing with the guard Tr fetta message for my attorneys
and told them. what happened. |

Bott, attorneys set up another visit to pick Up the box
ot records at which time they sau thet the records Where
out of order and Some were missing. (My Attorneys brought tAls
matter to the attention of the People. at the Prison but nothing
happened.) My attorneys tools the box of records back to their

o lree where they. sd fl sit. unuseable, out ot order and Some
reports ni ssinag.

Over the Years Dve asked bummbh both Attorneys to brin
this to the Courts attention , but the times IT asked they Told
me they Were ether busy, or we had to Lile an appeal.

Tm asleing tor the courts assistance in obtaining another
Copy of (jest) my Police reports, F.8.L. 302% and Lab reports in
my Case. Tve heen without my fyles for almost G years and
td Ivke to help in ny OWN detense ,and LT havent heen able
to do that, and ZT aant do that without my records.

Tim . SUVS’ there. ay. Many Yeasons why the

Court Can turn down my reguest , Svt+ Im asking tor the
Court to see the impor tance ot Me having a Copy ot my
records as £ try to help in my delense on my appeals.

Id be greattul it the eaourt can help me get
Case: 4:97-cr-00141-ERW Doc. #: 652 Filed: 07/28/05 Page: 3 of 4 PagelD #: 77

a. Copy ot the retords Im asking tor. Thank You.’

Sincerely ,

Dill; Aller
AbCIOL- OY4Y
“F0. BOX laos

Terre Haute, IN, 47701]

nae ER
Case: 4:97-cr-00141-ERW Doc. #: 652 Filed: 07/28/05 Page: 4 of 4 PagelD #: 78

 

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